






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00248-CV







Rachael Meyers, Appellant


v.


BHC Shoal Creek Hospital and Peter W. Gonzalez, M.D., Appellees







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. GN100528, HONORABLE PAUL DAVIS, JUDGE PRESIDING







	Appellant Rachael Meyers filed with this Court a motion to dismiss her appeal,
requesting this Court to dismiss her claims against appellees.  Accordingly, we grant appellant's
motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a)(2).  


					                                                                                   					David Puryear, Justice

Before Justices Kidd, Patterson and Puryear

Dismissed on Appellant's Motion

Filed:   May 9, 2002

Do Not Publish


